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                         UNITED STATES DISTRICT COURT
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                       SOUTHERN DISTRICT OF CALIFORNIA
 9
                             (HON. WILLIAM Q. HAYES)
10
11   UNITED STATES OF AMERICA,           CASE NO.: 20CR0031-WQH
12                     Plaintiff,
                                         ORDER
13         v.
14   VICTOR MENDOZA,
15                      Defendant.
16
17         IT IS HEREBY ORDERED that the motion to recall the warrant and set
18   hearing (ECF No. 28) is denied.
19         IT IS SO ORDERED.
20   Dated: August 3, 2020
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